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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    IN RE: TIKTOK, INC.,                                MDL No. 2948
    CONSUMER PRIVACY
    LITIGATION,                                         Master Docket No. 20-cv-4699

                                                        Judge John Z. Lee

                                                        Magistrate Judge Sunil R. Harjani

    This Document Relates to All Cases



             PLAINTIFFS’ RESPONSE TO OBJECTION OF BRIAN BEHNKEN
           AND JOSHUA DUGAN TO PROPOSED CLASS ACTION SETTLEMENT

      I.      Introduction

           Two objectors represented by the Labaton firm (Edelson’s co-counsel in Facebook

    BIPA 1) indicate their intent to opt-out of the Settlement. At the same time, however, they object

    to the Settlement. Because a class member who excludes themselves from a settlement class

    does not have standing to object, their objection should be dismissed.

           Even were the Court to consider the objection, it is not well-taken. Labaton’s claim that

    an opt-out procedure that requires a writing and evidence (i.e. a signature) that each individual

    class member has knowingly exercised his or her right to opt-out is burdensome, is spurious

    given that it is the exact same procedure used in Facebook BIPA, and presumably, in hundreds

    of other class settlements negotiated by Labaton. As reflected further below, the objection

    should be denied and this Court should grant Plaintiffs’ motion for preliminary approval.



1
  “Facebook BIPA” was previously referenced in Plaintiffs’ motion for preliminary approval and
refers to Facebook Biometric Info. Privacy Litig., No. 15-cv-03747-JD (N.D. Cal.). While
Labaton states that they represent 957 other individuals, the individuals are not identified and are
not before this Court.
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    II.      “Arbitration Claimants” Have No Standing To Object

          It is black letter law that class members who opt-out of the class do not have standing to

object to a class settlement. In re NCAA Student-Athlete Concussion Injury Litig., 332 F.R.D.

202, 219 (N.D. Ill. 2019) (Lee, J.). The general rule is that “a non-settling party does not have

standing to object to a settlement between other parties.” Agretti v. ANR Freight Sys., Inc., 982

F.2d 242, 246 (7th Cir.1992); Jamie S. v. Milwaukee Pub. Sch., 668 F.3d 481, 501 (7th Cir.

2012) (citing Agretti); In re Vioxx Prod. Liab. Litig., 388 F. App'x 391, 395 (5th Cir. 2010)

(“non-settling parties generally have no standing to challenge the settlement”); Mayfield v. Barr,

985 F.2d 1090 (D.C.Cir.1993) (explaining that individuals who opt out have no standing to

challenge the court's approval of a settlement agreement). 2 This is because allowing an opt-out

to interfere with the class’s right of settlement permits the opt-out to exert undue influence on the

rights of others:

          [a] party ought not be able to spoil a settlement by interposing objections
          and then leave the litigation. Neither does it seem fair and reasonable to
          allow a party to condition his opt out upon the court's acceptance or rejection
          of the objections to the settlement. If an absent class member (or even a
          class representative) desires to affect the settlement by filing objections,
          then the objector must abide the result and be bound by the consequences.
          If the settlement is unpalatable, the class member may opt out and avoid the
          binding effect of the settlement judgment. To allow the class member to
          have it both ways, however, would countenance the practice of influencing
          litigation—or attempting to do so—in which the class member really has no
          stake. That result is unacceptable.




2
  The Seventh Circuit recognizes a narrow exception in cases where a settlement agreement
strips non-settling parties of their rights and results in “plain legal prejudice.” Agretti, 982 F.2d at
246-247. But “[m]ere allegations of injury in fact or tactical disadvantage as a result of a
settlement simply do not rise to the level of plain legal prejudice.” Id. at 247. Here, the
Settlement contains an opt-out mechanism specifically allowing Arbitration Claimants to
exercise their rights and they do not show any plain legal prejudice that justifies their attempted
interference with the settlement process.
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Olden v. LaFarge Corp., 472 F. Supp. 2d 922, 931 (E.D. Mich. 2007) (internal citations

omitted).

       Influencing this litigation is exactly what Arbitration Claimants seek: they ask the Court

to deny preliminary approval, re-write a Settlement in which they will not participate and even

attempt to force the settling Plaintiffs into arbitration though they are unwilling to arbitrate and

Defendants have relinquished their contractual right to compel them to do so. Because they have

no stake in the Settlement, Arbitration Claimants cannot object, whether on their own, by

adopting the objections of their co-counsel from Facebook BIPA, or in reiterating the objections

of any other counsel.

       In claiming that the proposed Settlement violates the Federal Arbitration Act, Arbitration

Claimants take great liberties in summarizing the holding in Bigger v. Facebook, Inc., 947 F.3d

1043, 1047 (7th Cir. 2020). Their reliance is misplaced. In Bigger, the Seventh Circuit

considered the defendant’s challenge to a court-ordered notice based on the argument that the

recipients “entered [into] arbitration agreements waiving the right to participate in the action.”

Id. As such, the defendant (not some unrelated “Arbitration Claimant” asserting an individual

right to arbitrate) was attempting to exercise its right to enforce its own agreements to arbitrate.

Here, Arbitration Claimants have no right to thwart a class action settlement by compelling other

plaintiffs, with whom they have no contractual relationship, to arbitrate. They are not parties to

any purported agreement to arbitrate between the settling Plaintiffs and Defendants (if this case

were to proceed, the existence of any agreement would be challenged) and they have no standing

to enforce any such agreement. Bigger simply does not apply to the facts of this case.




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          In any event, since Arbitration Claimants wish to proceed as opt-outs, they have no

standing to interfere with the class settlement and the Court should deny their objections out of

hand.

   III.      Requiring Individual Class Members To Manifest Their Intent To Opt-Out Is
             Standard Operating Procedure To Ensure Settlement Class Members Are Not
             Induced Unknowingly To Forego Settlement Benefits.

          Apart from lacking standing, Arbitration Claimants’ protestations are not ripe: until the

Court preliminary approves the Settlement, there is nothing to opt-out of and the right to opt-out

has not manifested. If the Settlement is approved, the Court preliminarily certifies a settlement

class, notice is disseminated and the opt-out procedure put in place, then class members may

appropriately exercise their rights in keeping with that procedure. And after the opt-outs submit

their requests, this Court can consider their validity at an appropriate future time (as opposed to

now, where the Court does not even have basic information about 957 of Labaton’s “Arbitration

Claimants”). What these unidentified opt-outs ask the Court to do, in effect, is to impose a

mechanism in the Settlement Agreement that would permit them to solicit mass or class opt-outs

for purposes of filing individual arbitrations. This contravenes Rule 23, public policy favoring

settlement of class actions, and worst of all, threatens the administration of justice.

          Labaton and Edelson are keenly aware of the dangers posed by mass solicitation like this.

In fact, in Facebook BIPA, they filed an Emergency Motion for a Temporary Restraining Order

against the law firm Levi & Korsinsky LLP (“Levi”) when Levi solicited absent class members

to opt out of their settlement. Facebook BIPA, No. 15-cv-03747, ECF No. 477 (attached hereto

as Exhibit A). Levi, which had not been involved as counsel in the litigation, ran ads on

Facebook and established its own website to solicit class members to “sign up” for a claim, after

preliminary approval had been granted. Id. at ¶ 2. Labaton and Edelson complained to Judge



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Donato of the “urgent need” to protect absent class members from Levi’s misleading

solicitations. They even cited caselaw concerning the ability of courts to correct any

communication “that is misleading, coercive, or discourages participation in the lawsuit.” Id. at

¶¶ 5, 7 (citing Cruz v. Redfin Corp., No. 14-CV-05234-TEH, 2016 WL 2621966, at *1 (N.D.

Cal. May 9, 2016)). Labaton and Edelson specifically argued that Levi’s ads were designed to

discourage participation because class members were not advised of their rights or informed that

the request for them to sign-up to file a claim meant that they were actually opting out of the

lawsuit. Id. at ¶¶ 8-12. To address class member confusion, Judge Donato ordered Levi to

disseminate a curative notice. Facebook BIPA, No. 15-cv-03747, ECF No. 494 (attached hereto

as Exhibit B).

       Labaton now resurrects the playbook Levi used against it and Edelson. The fact that

Labaton has signed up, in addition to the 2 named opt-outs, 957 “other individuals” raises

questions. The manner in which Labaton signed so many people in such a compressed period of

time, while at the same time refusing to properly identify them for the Court, may give rise to

future areas of inquiry. In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, on Apr.

20, 2010, 910 F. Supp. 2d 891, 939 (E.D. La. 2012), aff'd sub nom., In re Deepwater Horizon,

739 F.3d 790 (5th Cir. 2014) (“counsel for such mass opt-outs may have breached their fiduciary

and ethical duties to their clients; at the very least, the mass unsigned opt outs are highly

indicative of a conclusion that such counsel did not spend very much time evaluating the merits

of whether or not to opt-out in light of the individual circumstances of each of their clients and in

consultation with them”); Georgine v. Amchem Prod., Inc., 160 F.R.D. 478, 505 (E.D. Pa. 1995)

(invalidating improperly obtained exclusion requests based misleading solicitations, ordering

curative notice and second opt-out period to permit class members to make an informed



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decision); Masonek v. Wells Fargo Bank, No. SACV091048DOCRNBX, 2009 WL 10672345, at

*4 (C.D. Cal. Dec. 21, 2009) (ordering curative notice to address misleading communications

with absent class members).

         As the Court is already aware, Plaintiffs raised concerns with Mr. Edelson’s

dissemination of misleading information concerning the settlement and these proceedings to

potential class members and the public at large. See Declaration of Katrina Carroll, ECF 138. At

this point, Plaintiffs do not have information concerning the solicitation efforts of Mr. Edelson’s

co-counsel to sufficiently permit them to assess whether misleading information is being

conveyed, but Plaintiffs reserve their right to pursue future discovery into such matters. For

now, however, these inquiries need not derail preliminary approval, especially since Labaton’s

clients seek to exclude themselves and have no standing to object.

   IV.      The Opt-Out Provision Is Not Burdensome

         Even if the Court is to independently consider the opt-out procedure proposed in the

Settlement Agreement, it should find that there is nothing improper or burdensome about it. The

procedure is standard in class action settlements, and consistent with Rule 23’s policy that the

right to opt-out must be exercised individually. Prohibiting mass opt-outs and requiring class

members to submit signed requests in writing are mechanisms regularly endorsed by courts as

designed to ensure that class members understand their rights and are voluntarily exercising

them.

         Despite their feigned ignorance, Labaton and Edelson included a nearly identical opt-out

provision in their Facebook BIPA settlement agreement. Like here, the Facebook BIPA

provision contains the same prohibition on mass opt-outs, requires opt-out requests to be signed

and asks class members to supply identifying details concerning the litigation. In fact, the only



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distinguishing feature is that Facebook BIPA required the settlement administrator to accept

exclusion requests by email “[i]n light of the COVID-19 pandemic,” although each class member

was still required to submit the exclusion request in writing, with a personal signature along with

relevant identifying information (requirements that Labaton now conveniently claims are unduly

burdensome):

        A Class Member may request to be excluded from the Class by sending a
        written request that is received on or before the Objection/Exclusion Deadline
        approved by the Court and specified in the Notice. To exercise the right to be
        excluded, a Class Member must timely send a written request for exclusion
        to the Settlement Administrator providing his/her name, address and email;
        a signature, the name and number of the Action, and a statement that he or
        she wishes to be excluded from the Class for purposes of this Settlement. In
        light of the COVID-19 pandemic, the Settlement Administrator shall create a
        dedicated e-mail address to receive exclusion requests electronically. A request
        to be excluded that does not include all of this information, or that is sent to
        an address other than that designated in the Notice, or that is not
        postmarked within the time specified, shall be invalid, and the person(s)
        serving such a request remain a member(s) of the Class and shall be bound as a
        Class Member by this Agreement, if approved. Any member of the Class who
        validly elects to be excluded from this Agreement shall not: (i) be bound by any
        orders or the Final Judgment; (ii) be entitled to relief under this Settlement
        Agreement; (iii) gain any rights by virtue of this Agreement; or (iv) be entitled to
        object to any aspect of this Agreement. The request for exclusion must be
        personally signed by the person requesting exclusion. So-called “mass” or
        “class” opt-outs shall not be allowed. To be valid, a request for exclusion must
        be postmarked or received by the date specified in the Notice.
Facebook BIPA, No. 15-cv-03747, ECF No. 468 at §4.5 (pp.23) (emphasis added) (attached

hereto as Exhibit C). In fact, Labaton has participated as class counsel in hundreds, if not

thousands, of settlements requiring class members to individually sign exclusion requests. 3


3
 See, e.g., Stipulation and Agreement of Settlement, ¶ 15 (in class settlement agreement signed
by Labaton: “Such request for exclusion … must be signed by such Person.”), available at
https://www.liventsecuritiessettlement.com/Content/Documents/Stipulation%20and%20Settleme
nt%20Agreement.pdf (last accessed April 3, 2021); Stipulation and Agreement of Settlement, ¶
15 (“Such request for exclusion … must be signed by such Person.”), available at
https://www.drreddyssecuritiessettlement.com/Content/Documents/Stipulation%20and%20Agre
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       Contrary to Labaton’s flawed protestations, courts do not “routinely” invalidate opt-out

provisions like this. To the contrary, courts recognize that “[o]pting out is an individual right

[that] must be exercised individually.” In re Diet Drugs, 282 F.3d 220, 241 (3d Cir. 2002); In re

Nat'l Football League Players' Concussion Inj. Litig., No. 14-1995 (MDL No. 2323), 2019 WL

95917, at *5 (E.D. Pa. Jan. 3, 2019) (“[t]he right to opt out of a class action is one that must be

exercised individually”); Wai Hoe Liew v. Cohen & Slamowitz, LLP, 265 F. Supp. 3d 260, 275

(E.D.N.Y. 2017) (“[i]f opt-out plaintiffs wish to pursue their individual claims, they must do so

individually, and not as a resurrected class”); see also William Rubenstein et al., Newberg on

Class Actions § 9:49 (5th ed. 2013) (“The right to opt out in a Rule 23(b)(3) class action is

considered an individual right.”).

       And actually, what courts “routinely” reject are attempts by lawyers to “effect mass opt

outs of all of their clients with the filing of a single notice.” Diet Drugs, 282 F.3d at 241

(referring to district court ruling). This is apparently the approach Labaton asks this Court to

endorse by permitting mass opt-outs to be submitted electronically and without individual




ement%20of%20Settlement.pdf (last accessed April 3, 2021); Stipulation of Settlement, ¶
B.2(“The Request for Exclusion must comply with the Preliminary Approval Order and include
the Settlement Class Member’s … signature,…”), available at
http://www.devrysecuritiessettlement.com/media/2323598/stipulation_of_settlement.pdf (last
accessed April 3, 2021). See also, e.g., Order Granting Preliminary Approval of Class Action
Settlement, Approving Form and Manner of Notice, and Setting Date for Hearing on Final
Approval of Settlement, ¶ 18 (granting preliminary approval of settlement, preliminarily
appointing Labaton as Class Counsel, and stating that any “request for exclusion must state the
name, address, and telephone number of the Person seeking exclusion, must state that the sender
requests to be “excluded from the Settlement Class in Steamfitters Local 449 Pension Plan vs.
Molina Healthcare, Inc., et al., Case No. 2:18-cv-03579 AB (JCx) (C.D. Cal.)” and must be
signed by such Person.”), available at https://angeion-
public.s3.amazonaws.com/www.MolinaHealthcareSecuritiesSettlement.com/docs/Molina+-
+Entered+Preliminary+Approval+Order++(2404392_1).PDF (last accessed April 3, 2021).
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signatures. The Court should reject Labaton’s invitation to re-write the settlement agreement to

suit its purposes.

        District courts overseeing complex class actions have discretion to require that opt-out

requests be signed by each class member and reject requests signed by an attorney. Moulton v.

U.S. Steel Corp., 581 F.3d 344, 355 (6th Cir. 2009) (observing that there is no case “that requires

district courts to accept opt-out forms signed by attorneys,” because “[t]o impose such an

unbending rule would unduly interfere with the district court’s broad authority to manage class

actions by governing the conduct of counsel and the parties”) (citation omitted); In re

Centurylink Sales Practices & Sec. Litig. (“Centurylink”), No. CV 17-2832, 2020 WL 3512807,

at *3 (D. Minn. June 29, 2020) (citing Moulton). It is also “commonplace” and not “unduly

burdensome” for courts to require that opt-outs “provide some proof of class membership.” In re

Ins. Brokerage Antitrust Litig., 282 F.R.D. 92, 118 (D.N.J. 2012) (rejecting attempt by an opt-out

to seek exclusion on behalf of a class of opt-outs).

        The Honorable Michael Davis, presiding over the Centurylink MDL, recently conducted

an exhaustive analysis of opt-out procedures as they relate to mass solicitation of class members

to file individual arbitrations. That case involved a consumer settlement involving 17 million

class members, including approximately 16,000 class members represented by the firm Keller

Lenkner who, like Labaton, solicited arbitration opt-outs. At the preliminary approval stage,

Judge Davis had approved the following procedure for opting out:

        Settlement Class Members may elect to not be part of the Class and to not be
        bound by this Settlement Agreement. To make this election, Class Members must
        send a written notification to the Settlement Administrator that (a) clearly
        identifies the case name and number; (b) includes the full name and either the
        unique identification number for the Settlement Class Member assigned by the
        Settlement Administrator, or the Settlement Class Member's account number with
        CenturyLink; (c) includes the address, telephone number (optional), and email
        address (optional) of the Settlement Class Member seeking exclusion; (d) is

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       signed by the Settlement Class Member; and (e) contains a statement that the
       requestor does not wish to participate in the Settlement. A request for exclusion
       must be submitted no later than one hundred and fifty-one (151) calendar days
       after entry of this Order. Settlement Class Members who are opting out must
       each separately and individually comply with the requirements of this
       paragraph.
Centurylink, 2020 WL 3512807, at *1 (D. Minn. June 29, 2020) (emphasis added).

       Unlike Labaton who failed to supply basic information on its nearly 1,000 opt-out clients,

in Centurylink, Keller submitted a mass opt-out list to the Court but did not include any

individual signatures or the required identifying information. The court held that the signature

requirement for an opt-out is “vital, because it ensures that the class member is individually

consenting to opt out, and avoids a third party or lawyer representing that they have that class

member's authority, without the class member making an informed, individual decision.” Id. at

*3; see also Hallie v. Wells Fargo Bank, N.A., No. 2:12-CV-00235-PPS, 2015 WL 1914864, at

*4 (N.D. Ind. Apr. 27, 2015) (noting that signed, individual requests for exclusion increase

likelihood that class members will make informed and individualized decisions on whether to

opt-out).

       Judge Davis further recognized the importance of individualized decision-making by

class members given the economic incentives of counsel soliciting opt-outs. In Centurylink,

there was evidence in the record that the Keller firm gave “generic advice to 22,000 clients that

they should all opt out, an act that greatly benefits Keller financially.” Id. at *4. Judge Davis

was troubled that the “sheer number of Keller's clients given the size of the law firm and the

strong financial incentive that Keller faces in recommending opt outs raise questions about

whether each of its client's opt-out requests were made individually and intelligently.” Id. This

Court could be similarly troubled here if it does not approve an opt-out procedure that contains a




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signature requirement and otherwise reflects that class members were apprised of their options

and exercised their right to opt out voluntarily.

        Judge Davis also rejected the same argument Labaton makes here under Piper Funds-

that denying an opt-out request when a class member asserts his or her right to arbitration

violates the Federal Arbitration Act:

        Here, the vast majority of Keller's clients have not even made an attempt
        to show that they have initiated an arbitration against CenturyLink or that
        they have a contractual right to arbitrate. Only 6 of the more than 16,000
        Keller clients listed in the opt-out lists have filed a motion to intervene
        and compel arbitration, which is hotly contested and will be addressed in
        a separate order. Piper has no applicability to the remaining clients on
        Keller's opt-out lists.
Centurylink, 2020 WL 3512807, at *8. The circumstances here are even more compelling since

Labaton has not even bothered to give basic identifying information on the individuals who

purportedly wish to arbitrate.

        Arbitration Claimants make several references to the ability of class members to “opt-in”

to the settlement electronically while criticizing the proposed opt-out mechanism which requires

some additional steps. Arbitration Claimants apparently do not understand that this is an “opt-

out” settlement under Rule 23: if the settlement is finally approved, all class members will be

automatically bound. The settlement does not require anyone to act, electronically or otherwise,

to submit any written consent to be included. See McClain v. Leona's Pizzeria, Inc., 222 F.R.D.

574, 576 (N.D. Ill. 2004) (explaining opt-out procedure under Rule 23 settlement in contrast to

the “opt-in system for collective actions” under the Fair Labor Standards Act). 4 Though class



4
 In fact, under the FLSA, the requirement to “opt-in” is more onerous than the procedure to opt-
out under the Settlement here since, apart from mailing a letter, “[t]he statute mandates that an
individual must ‘opt in’ to the representative action by (1) giving written consent and (2) filing
that consent with the court.” Tate v. Showboat Marina Casino P'ship, No. 02 C 3432, 2002 WL
31253843, at *1 (N.D. Ill. Oct. 8, 2002), amended on reconsideration, 2002 WL 31443124 (N.D.
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members may file a claim electronically, filing a claim is not an opt-in mechanism. Nor is there

any requirement that filing a claim should be accomplished in the same manner as submitting a

request to opt-out. Indeed, that would encourage mass-opt outs and circumvent the individual

nature of the request to opt-out under Rule 23. As Judge Thrash overseeing the Equifax data

breach MDL held in granting final approval of the class settlement:

       The Court overrules all objections related to the procedures for how to opt out.
       The exclusion procedure is simple, affords class members a reasonable time in
       which to exercise their option, and is conventional. The individual signature
       requirement on opt-out requests is not burdensome at all. Moreover, it ensures
       that each individual has carefully considered his options and understands that he
       is giving up his right to relief under the settlement. While technology provides an
       avenue for filing claim forms more easily, it also makes it easier for third parties
       and their counsel to file unauthorized “mass opt-outs,” which are sometimes
       “highly indicative of a conclusion that such counsel did not spend much time
       evaluating the merits of whether or not to opt-out in light of the individual
       circumstances of each of their clients and in consultation with them. The Court's
       Order Directing Notice clearly did not present insurmountable hurdles to opting
       out of the settlement class.
In re Equifax Inc. Customer Data Sec. Breach Litig., No. 1:17-MD-2800-TWT (MDL 2800),

2020 WL 256132, at *26 (N.D. Ga. Mar. 17, 2020) (footnote and quotations omitted).

       In Centurylink, Judge Davis ultimately rejected Keller’s mass opt-out list and ordered

compliance with standard opt-out requirements including requiring class members to supply

basic identifying information (including their account numbers and settlement identification

numbers), information about the litigation, sign opt-out requests and include in their requests a

statement that they do not wish to participate in the settlement. Centurylink, at *8.

       What is perhaps most telling, however, is that after Judge Davis enforced these standard

opt-out requirements, out of 16,000 Keller represented opt-outs, only 5 actually pursued

arbitration. One movant “stopped responding to Keller and did not submit a valid opt-out


Ill. Oct. 31, 2002). In contrast, the opt-out procedure here requires a simple written request
without requiring class members to make any court filings.
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request” and apparently, the vast majority of others “later changed their mind and decided to join

in the class settlement.” See Centurylink, ECF 26 (attached hereto as Exhibit D), at pp. 6-7.

These results speak for themselves.

       In short, there is nothing improper about the exclusion procedure proposed in the

Settlement Agreement. That agreement should be preliminary approved and the notice program

be allowed to proceed in its normal course.

Dated: April 5, 2021                                 Respectfully Submitted,

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